                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


 GOOD RIVER FARM, LP,                            §
                                                 §
         Plaintiff,                              §
                                                 §
 v.                                              §             No. 1:17-cv-01117-RP
                                                 §
 MARTIN MARIETTA                                 §
 MATERIALS, INC. and                             §
 TXI OPERATIONS, LP,                             §
                                                 §
         Defendants.                             §



                AGREED MOTION TO STAY EXECUTION OF JUDGMENT



       Defendants Martin Marietta Materials, Inc. and TXI Operations, LP, (collectively,

“Defendants”) and Plaintiff Good River Farm, LP (“Good River”) have agreed to stay execution

of the August 24, 2022 Order entering judgment in favor of Good River (Dkt. 137) until five (5)

days after the Court issues a ruling on Defendants’ Renewed Motion for Judgment as a Matter of

Law or, in the Alternative, for New Trial (Dkt. 140), filed on September 21, 2022 (the “Motion”).

       Pursuant to the mutual agreement reached between Defendants and Good River, the Parties

respectfully request the Court stay execution of the judgment for the agreed upon timeframe while

the Motion remains pending.




                                               1
Respectfully submitted,


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  AGREED:



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   2
